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16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA

18                                   SAN FRANCISCO DIVISION

19   GOOGLE LLC,                                 Case No. 3:20-cv-06754-WHA
                                                 Related to Case No. 3:21-cv-07559-WHA
20          Plaintiff and Counter-defendant,
                                                 SONOS, INC.’S MOTION TO STRIKE
21   v.                                          PORTIONS OF GOOGLE’S MOTION
                                                 FOR SUMMARY JUDGMENT AND
22   SONOS, INC.,                                EXPERT DECLARATION
23          Defendant and Counter-claimant.      Date: June 9, 2022
                                                 Time: 8:00 a.m.
24                                               Place: Courtroom 12, 19th Floor
25                                               Judge: Hon. William Alsup

26                                               Complaint Filed: September 28, 2020

27

28                        PUBLIC REDACTED VERSION

                                                                       SONOS’S MOTION TO STRIKE
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 1                                        NOTICE OF MOTION

 2   TO ALL PARTIES AND THEIR ATTORNEYS:

 3          PLEASE TAKE NOTICE that on June 9, 2022 at 8:00 a.m., or as soon thereafter as may

 4   be heard before the Honorable Judge William Alsup in Courtroom 12 on the 19th Floor of the

 5   United States District Court for the Northern District of California, San Francisco Courthouse,

 6   450 Golden Gate Avenue, San Francisco, CA 94102, Defendant Sonos, Inc (“Sonos”) will, and

 7   hereby does, move this Court for an Order striking untimely and improper arguments in Plaintiff

 8   Google LLC’s (“Google”) Motion for Summary Judgment and Dr. Samrat Bhattacharjee’s

 9   supporting declaration concerning the validity of United States Patent No. 9,967,615 (“the ’615
10   Patent”). This motion is based on this Notice of Motion, the accompanying Memorandum of

11   Points and Authorities and exhibits thereto, all documents in the Court’s file, and such other

12   written or oral evidence and argument as may be presented.

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 1                          STATEMENT OF THE RELIEF REQUESTED

 2           Pursuant to Patent Local Rules 3-3 and 3-4 and Federal Rules of Civil Procedure 26 and

 3   37, Sonos seeks an order striking 1) portions of Google’s Motion for Summary Judgment

 4   Pursuant to the Court’s Patent Showdown Procedure (“Google’s MSJ”) (Dkt. 211); 2) portions of

 5   Exhibit 1, Declaration of Samrat Bhattacharjee, Ph.D. (“Bhattacharjee Decl.”) (Dkt. 211-1); and

 6   3) the entirety of Exhibits 10 and 14 (Dkts. 211-10 and 211-14) that include untimely and

 7   improper arguments concerning the validity of the ’615 Patent.

 8                       MEMORANDUM OF POINTS AND AUTHORITIES

 9   I.      INTRODUCTION
10           Google’s patent showdown summary judgment brief improperly relies on new invalidity

11   arguments and prior art references not previously disclosed. Those arguments and evidence should

12   be struck.

13           Patent Local Rule 3-3 obligated Google to both identify (i) every prior art reference upon

14   which it may rely and (ii) “specifically where and how in each alleged item of prior art each

15   limitation of each asserted claim is found.” While Google served invalidity contentions under this

16   rule on December 6, 2021, those contentions do not include key arguments and evidence upon

17   which Google bases its summary judgment motion of invalidity. Specifically, in an attempt to

18   make its case, Google sets forth a completely novel anticipation theory for its YouTube Remote

19   System prior art, relies on multiple new references, including a previously undisclosed version of
20   YouTube Remote,1 and relies on specific pinpoint citations to source code that were never before

21   identified. Allowing Google to hide key arguments and prior art until summary judgment—

22   particularly when the material is regarding Google’s own system—would directly contradict the

23   notice function of the patent local rules. As detailed below, Sonos therefore respectfully requests

24

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26   1
       Patent Local Rule 3-4 obligated Google to “produce or make available for inspection … [a]
     copy or sample of the prior art identified pursuant to Patent L.R. 3-3(a) which does not appear in
27
     the file history of the patent(s) at issue.” While Google produced some versions of source code
28   for the YouTube Remote System for inspection by December 6, 2021, Google did not produce for
     inspection the version of the source code on which Google and its expert now rely.
                                                                              SONOS’S MOTION TO STRIKE
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 1   that the Court strike these new theories and materials referenced in Google’s Motion for Summary

 2   Judgment and accompanying expert declaration.

 3   II.     BACKGROUND

 4           Sonos received Google’s Patent Local Rule 3-3 invalidity contentions on December 6,

 5   2021. After review, and in connection with ongoing meet-and-confers with Google, Sonos

 6   identified key shortcomings of those contentions. Broadly speaking, despite Google’s inclusion

 7   of various screenshots and block quotes from alleged prior art references, Google’s invalidity

 8   contentions failed to identify or explain how those images/quotes related to any particular claim

 9   element.
10           In an attempt to resolve these deficiencies, Sonos sent a letter to Google on February 10,

11   2022, providing examples where Google failed to meet its obligations and expressly inviting

12   Google to amend its contentions. Ex. B (Feb. 10 letter).2 Among other things, Sonos’s February

13   10 letter explained that Google failed to identify the specific source code on which Google

14   planned to rely. Id. at 3. Sonos also explicitly noted that its letter was addressing systemic

15   deficiencies from “every single chart or every single element” and providing examples “to

16   illustrate” those deficiencies, but was not an exhaustive recounting of all the issues in the

17   thousands of pages of Google’s contentions. Id. at 1; see also Ex. E (March 11 email) at 1

18   (explaining that Sonos’s February 10 letter “pointed out Google’s utter failure to provide any

19   narrative explanation whatsoever explaining Google’s theories of invalidity – a failure that
20   permeates every last one of Google’s 46 charts and for which we provided three examples to

21   illustrate … ”).

22           Google responded on March 2, 2022, but only addressed the representative examples

23   included in Sonos’s letter. Ex. C (March 2 letter). Google made no effort to correct the systemic

24   issues that Sonos identified. Id. Nor did Google agree to amend its contentions. Id. Sonos

25   attempted to work with Google again several times throughout March, until it became clear that

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     2
28    All lettered exhibits cited in this motion are attached to the Declaration of Alyssa Caridis filed in
     support of this motion and concurrently herewith.
                                                                                 SONOS’S MOTION TO STRIKE
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 1   Google did not intend to provide cognizable invalidity theories or specify the portions of its

 2   source code it intended to use for these theories. Exs. D and E (March 3 and March 11 emails).

 3           Google filed its Motion for Summary Judgment on April 14, 2022. Google moved for

 4   summary judgment of invalidity on claim 13 of the ’615 patent, contending that claim 13 is both

 5   anticipated by and obvious in light of the alleged prior art. Google’s motion, along with its

 6   accompanying expert declaration, included multiple new invalidity theories and prior art

 7   references, and relied on specific pinpoint citations to source code that were never before

 8   identified.

 9   III.    LEGAL STANDARD
10           Patent Local Rule 3-3(c) required Google to serve invalidity contentions “identifying

11   specifically where and how in each alleged item of prior art each limitation of each asserted claim

12   is found.” In turn, Patent Local Rule 3-4(b) required Google to “produce or make available for

13   inspection … [a] copy or sample of the prior art identified pursuant to Patent L.R. 3-3(a) which

14   does not appear in the file history of the patent(s) at issue.”

15           These disclosure requirements exist “to further the goal of full and timely discovery and

16   provide all parties with adequate notice and information with which to litigate their cases.”

17   Fresenius Medical Care Holdings, Inc. v. Baxter Intern., Inc., No. C03-1431 (SBA), 2006 WL

18   1329997 at *4 (N.D. Cal., May 15, 2006) (citations omitted). “The rules are designed to require

19   parties to crystallize their theories of the case early in the litigation and to adhere to those theories
20   once they have been disclosed.” Id. “Any invalidity theories not disclosed pursuant to Local Rule

21   3-3 are barred, accordingly, from presentation at trial (whether through expert opinion testimony

22   or otherwise).” MediaTek Inc. v. Freescale Semiconductor, Inc., No. 11-cv-5341 (YGR), 2014 WL

23   690161, at *1 (N.D. Cal. Feb. 21, 2014) (citing Avago Techs. Gen. IP PTE Ltd. v. Elan

24   Microelectronics Corp., No. C04-05385 (JW), 2007 WL 2103896 (N.D. Cal., Jul. 20, 2007)), aff’d

25   2007 WL 2433386 at *1 (N.D. Cal., Aug. 22, 2007). Courts can choose to strike new theories and

26   references under Patent Local Rule 3-3 when a party fails to meet its disclosure obligations, even

27   absent a showing of prejudice caused by nondisclosure. Finjan, Inc. v. Sophos, Inc., No. 14-cv-

28   01197 (WHO), 2016 WL 2988834, at *9 (N.D. Cal. May 24, 2016); Largan Precision Co., Ltd. v.

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 1   Genius Elec. Optical Co., Ltd., No. 13-cv-02502 (JD), 2014 WL 6882275, at *3-5 (N.D. Cal. Dec.

 2   5, 2014). Likewise, material allegedly relevant to a party’s prior art that is not produced pursuant

 3   to Local Rule 3-4 will be precluded. See, e.g., IXYS Corp. v Adv. Power Tech. Inc., No. C 02-

 4   03942 MHP, 2004 WL 1368860, at *2-3 (N.D. Cal. Jun. 16, 2004).

 5   IV.     ARGUMENT

 6           Google’s improper invalidity evidence/theories fall under four broad categories. Each

 7   category is independently objectionable and should be struck for the reasons outlined below.

 8           A.     Google Improperly Introduced A New Anticipation Theory.

 9           Google contends that the YouTube Remote System anticipates claim 13 of the ’615 patent.
10   Google’s anticipation theory for one of the claim limitations, which Google identifies as

11   “Limitation 13.4,”3 relies on Google’s contention that the YouTube Remote System detects a “set

12   of inputs” when the user presses the “menu” button and then presses the “Connect” button.

13   Google’s MSJ at 18-19. This theory is nowhere to be found in Google’s invalidity contentions.

14           While Google did disclose the YouTube Remote System as alleged prior art in its invalidity

15   contentions, the theory on which Google is now relying is brand new. In its contentions, Google

16   identified

17                                                                                  Ex. A. (’615 Chart) at

18   17-18. In contrast, in its motion for summary judgment Google completely changes its theory by

19   now pointing to a never-before identified “menu” button and claims that selection of that button in
20   combination with selection of the “Connect” button discloses this claim element. The below table

21   shows Google’s theory as disclosed in its invalidity contentions side-by-side with its summary

22   judgment argument:

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       As set forth in Google’s Motion for Summary Judgment, Limitation 13.4 corresponds to
26   “detecting a set of inputs to transfer playback from the control device to a particular playback
     device, wherein the set of inputs comprises: (i) a selection of the selectable option for transferring
27
     playback from the control device and (ii) a selection of the particular playback device from the
28   identified playback devices connected to the local area network[.]” Notably, Google referred to
     this limitation as Limitation 13d in its contentions. See Ex. A (’615 Chart) at 17.
                                                                                 SONOS’S MOTION TO STRIKE
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 1

 2                                                                    Summary Judgment
                                                        “To transfer playback using the YTR
 3
                                                        application the user may press the menu button
 4                                                      (shown in green in the image …) which brings
                                                        up a ‘Connect’ button (shown in red) that the
 5                                                      user may further select to transfer playback to a
                                                        particular playback device.          The user’s
 6                                                      selection of menu and select [sic] are a ‘set of
                                                        inputs’ to transfer playback that are detected by
 7
                                                        the Android phone.
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17    Ex. A (’615 Chart) at 18 (emphasis in text Google’s MSJ at 19 (emphasis in text added).
      added).
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19   Even setting the text aside, the difference is clear from the images. In its contentions (left) Google
20                                                                                     Google’s summary
21   judgment theory adds an entirely new element—Google uses a green box to highlight the “menu,”
22   allegedly working in concert with the “Connect” button (again boxed in red)—to satisfy the claimed
23   “set of inputs.”
24          Google is barred from raising invalidity arguments that were not previously disclosed in its
25   invalidity contentions, even if such arguments are based on the same reference(s) that Google
26   identified in its contentions. MediaTek, 2014 WL 690161 at *1. Courts are clear that infringers
27   cannot introduce new teachings of a previously disclosed reference to create new invalidity
28   theories. See Largan, 2014 WL 6882275 at *5-6. Instead, the invalidity contentions must disclose

                                                                                SONOS’S MOTION TO STRIKE
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 1   the “specific [teaching of the prior art] with respect to this specific claim,” as well as the infringer’s

 2   “theory for why the reference discloses this element.” Id. For example, the defendant in Largan

 3   served invalidity contentions citing to the Park prior art reference for various elements of the

 4   asserted claims. Id. The Court found that the defendant cited the Park reference in its “invalidity

 5   contentions for the broader elements in which [the] limitations [are] found.” Id. at *5. However,

 6   the expert then relied on different teachings of Park that the defendant had not previously disclosed

 7   in its contentions to support the expert’s opinion of invalidity. Id. at *5-6. The Court held that the

 8   expert could not introduce new teachings of this prior art later in the litigation to fill in the gaps of

 9   its invalidity theories. E.g., id. at *5-6 (striking expert report which “cites various other portions
10   of the Park ’665 patent in arguing that it discloses or renders obvious the ‘TTL/ImgH<1.95’

11   limitation of this claim.”). The Court struck, under Patent Local Rule 3-3, all portions of the

12   defendant’s expert report that used new teachings of the Park reference to satisfy any claim element.

13   Id. Similar to the defendant in Largan, Google is attempting to use different teachings from the

14   YouTube Remote System to fill gaps in its invalidity contentions. Id. Google did not present the

15   “menu” button as part of the claimed “set of inputs” in its invalidity contentions, and it should not

16   be permitted to do so now.         The Court should strike paragraphs 136 and 159-160 of Dr.

17   Bhattacharjee’s declaration and page 19, lines 1-7 of Google’s motion for summary judgment on

18   this basis.

19           B.      Google’s Reliance on U.S. Patent No. 9,490,998 For Obviousness Is Improper
20           Google similarly tries to expand its use of U.S. Patent No. 9,490,998 (“the ’998 Patent”)

21   beyond what it disclosed in its invalidity contentions for Limitation 13.4. Specifically, Google

22   cites to the ’998 Patent at 10:62-11:6 to argue that the ’998 Patent discloses that “the ‘user

23   interface’ of the Remote Control may display the ‘previously paired controlled devices’ so that a

24   user may select and control ‘one or more paired controlled devices.’” Google’s MSJ at 20.

25   However, column 10:62-11:6 is simply not cited in Google’s invalidity contentions for this claim

26   element. Instead, Google’s invalidity contentions for this element cite entirely different portions

27   of the patent, which do not disclose selecting one or more previously paired devices using the

28   user interface of the remote control. Ex. A (’615 Chart) at 18-20 (citing 4:21-57, 4:58-67, 8:1-59,

                                                                                   SONOS’S MOTION TO STRIKE
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 1   and Figure 1). Additionally, Google’s contentions for Limitation 13.4 merely provide block

 2   quotes for these different citations to the ’998 Patent and never apply the teachings to the claims

 3   or articulate any theories specifically related to selecting one or more previously paired devices

 4   using the user interface of the remote control. See id.

 5          As discussed previously, Google cannot use new teachings of its previously disclosed

 6   prior art to fill gaps in its invalidity theories. Supra, §IV.A. The Court should therefore strike

 7   paragraphs 149 and 169 of Dr. Bhattacharjee’s declaration and page 20, lines 3-6 of Google’s

 8   motion for summary judgment on this basis. 4

 9          C.      Google’s Previously Undisclosed Prior Art References Must Be Stricken
10          A party cannot rely on a prior art reference that it did not disclose in its invalidity

11   contentions. ASUS Computer Int’l v. Round Rock Research, LLC, No. 12-cv-02099 JST, 2014

12   WL 1463609, at *8-9 (N.D. Cal. Apr. 11, 2014); Largan, 2014 WL 6882275, at *6. While new

13   references may be used by an expert as general background material, such references cannot be

14   relied on “as prior art that allegedly renders the asserted claims of the … patent[] obvious.”

15   Verinata Health, Inc. v. Sequenom, Inc., No. C12-00865 (SI), 2014 WL 4100638, at *5 (N.D. Cal.

16   Aug. 20, 2014); Largan, 2014 WL 6882275, at *6 (finding that a reference is not general

17   background if it is used “in support of a particular claim element being anticipated or obvious”).

18                  1.      Google’s MSJ Exhibit 14: February 29, 2012 Version of the YouTube
                            Remote System
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20          Google improperly relies on a never-before disclosed version of the YouTube Remote

21   system in its summary judgment motion. Google’s MSJ at 20. Specifically, with respect to

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23   4
       To the extent Google points to its unexplained, 4-column citation to ’998 Patent at 8:54-11:6 in
24   its contentions, Google only relied on this citation for Limitation 13.1 (i.e., 13a in its contentions),
     which recites “causing a graphical interface to display a control interface including one or more
25   transport controls to control playback by the control device.” Ex. A (’615 Chart) at 7. Google
     cannot now pivot and try to rely on its citation for Limitation 13.1 to now support its invalidity
26   theory for Limitation 13.4. A citation is not properly disclosed with respect to an element simply
     because the citation is included elsewhere in the invalidity claim chart. See MediaTek, 2014 WL
27
     690161 at *4 (“The argument that the citation of Bhuyan in connection with Claim 1 should
28   suffice for dependent Claim 5 as well is wholly without merit.”); see also Largan, 2014 WL
     6882275, at *5 (similar holding).
                                                                                  SONOS’S MOTION TO STRIKE
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 1   Limitation 13.4, Google’s motion for summary judgment relies on a February 29, 2012 Wayback

 2   Machine capture of a website depicting a version of the YouTube Remote System that was

 3   allegedly released on January 25, 2012 to argue that “the ‘user interface’ of the Remote Control

 4   may display the ‘previously paired controlled devices’ so that a suer may select and control ‘one or

 5   more paired controlled devices.’” Id.; Google’s MSJ Ex. 14.

 6          Google never disclosed this alleged January 25, 2012 version of the YouTube Remote

 7   System or the “Select a screen for playback” menu allegedly provided by that version in its

 8   invalidity contentions. Instead, in its contentions, Google specifically cited to an

 9                                                                                                      .
10   See Ex. A (’615 Chart) at 1 (identifying this document as document [9]). This earlier version

11   included                                                          ; none of which include the image

12   that Google relies on in its Motion for Summary Judgment. See Ex. F (Wayback Machine capture).

13   Below is a comparison of what Google disclosed in its invalidity contentions versus what it used

14   in its Motion for Summary Judgment:

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16                                                            Summary Judgment: Feb. 29, 2012
17                                                                         “Prior Art”
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28    Ex. A (’615 Chart) at 21                           Google’s MSJ at 20
                                                                                 SONOS’S MOTION TO STRIKE
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 1   The screenshot and underlying webpage from Google’s invalidity contentions (left) do not

 2                                            that Google relies on in its Motion for Summary Judgment

 3   (right). Nor do the invalidity contentions contain any allegations that the YouTube Remote System

 4   included a “Select a screen for playback” menu.

 5           Google’s failure to include this version of the YouTube Remote System in its invalidity

 6   contentions is particularly brazen because it is Google’s own system. Google was unquestionably

 7   aware of its own system, as it cited to and relied on other versions of the system in its contentions.

 8   E.g., Ex. A (’615 Chart) at 1, 20-21. Instead of complying with Local Rules 3-3, Google waited

 9   until summary judgment to disclose this new theory based on this different version of the alleged
10   prior art system. Google had an obligation to disclose the version of the prior art system it intended

11   to rely on in its invalidity contentions rather than hold it back for a tactical advantage. Largan,

12   2014 WL 6882275 at *4 (“Our Local Rules are designed precisely to eliminate the gamesmanship

13   of hints in favor of open disclosure.”). Because the version of the YouTube Remote System that

14   Google presents in its Motion for Summary Judgment is distinct from the version it presented in its

15   invalidity contentions, the Court should strike all of Google’s arguments related to the version of

16   the YouTube Remote System that is shown in the February 29, 2012 Wayback Machine capture

17   (i.e., Google’s MSJ Ex. 14). The Court should strike Exhibit 14, paragraphs 169-171 of Dr.

18   Bhattacharjee’s declaration, and page 20, lines 11-14 of Google’s motion for summary judgment

19   on this basis.
20                    2.    Google’s MSJ Exhibit 10: YouTube Remote API

21           Google’s expert, Dr. Samrat Bhattacharjee, improperly uses another new prior art reference

22   that Google did not disclose in its invalidity contentions to support his analysis. Specifically, Dr.

23   Bhattacharjee cites to Exhibit 10, documentation for an Application Programming Interface (API)

24   for the YouTube Remote System as of July 12, 2010, to support his invalidity arguments for

25   Limitation 13.5. Bhattacharjee Decl. at ¶180.

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 1                                             Id. Exhibit 10 is Dr. Bhattacharjee’s sole support

 2                                                                                                      Id.

 3   In this way, Exhibit 10

 4

 5            . See id.

 6           Google’s invalidity contentions for the ’615 Patent do not include references to Exhibit 10

 7   or any other API or API documentation. See Ex. A (’615 Chart). Nonetheless, Dr. Bhattacharjee

 8   “relies on [Exhibit 10] as prior art that allegedly renders the asserted claims [invalid].” Verinata,

 9   2014 WL 4100638 at *5. Such prior art references must be disclosed in invalidity contentions.
10   Patent L.R. 3-3(c). Google failed to do so, so it cannot now expect to use Exhibit 10 in its expert

11   declaration to support its invalidity arguments. ASUS Computer, 2014 WL 1463609 at *8-9. The

12   Court should strike Exhibit 10 and paragraphs 137 and 180 of Dr. Bhattacharjee’s declaration on

13   this basis.

14                   3.     Reliance on Undisclosed Versions of Source Code

15           Dr. Bhattacharjee also bases key parts of his declaration on source code that Google did

16   not disclose in its invalidity contentions. As an initial matter,

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18                                                                                   . Bhattacharjee

19   Decl. at ¶¶127-145 (n.21 – n.34). Of course, Google’s Patent Local Rule 3-4 document
20   production was due December 6, 2021, and Google never sought leave to amend. It is improper

21   for Google to rely on code that was not produced with its invalidity contentions. See, e.g., IXYS

22   Corp., 2004 WL 1368860, at *2-3 (precluding a party from relying on materials that were not

23   referenced in final invalidity contentions or produced pursuant to Patent L.R. 3-4, but then relied

24   upon in support of a motion for summary judgment); Good Tech. Corp. v. MobileIron, Inc., No.

25   5:12-cv-05826-PSG, Dkt. 278 (N.D. Cal. April 23, 2015) (granting motion to strike prior art

26   source code produced after PLR 3-4(b) deadline).

27           Putting aside the issue of when the code was produced, Dr. Bhattacharjee states that his

28   understanding of the YouTube Remote System is based in part on his analysis of source code for

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 1   the YouTube Remote system as of: (1) November 9, 2010; (2) July 12, 2011; and (3) December

 2   1, 2011. Bhattacharjee Decl. at ¶126. Google’s invalidity contentions do not specifically cite any

 3   of these versions of source code. See Ex. A (’615 Chart). Yet Google now specifically cites to

 4   these versions of code to support its invalidity arguments. As just one example, Dr. Bhattacharjee

 5   references the December 1, 2011 version of the source code to argue that it would have been

 6   obvious to allow the YouTube Remote to display available playback devices for selection of a

 7   particular display. Bhattacharjee Decl. at ¶170. This issue permeates Dr. Bhattacharjee’s

 8   declaration, which cites specific files that were not cited in the contentions, and cites versions of

 9   source code that appear different from the version cited in the contentions. See, e.g., id. at ¶ 133
10   n.21, ¶133 n.22, ¶134 n.23, ¶134 n.24, ¶139 n.25, ¶140 n.26, ¶141 n.27, ¶141 n.28, ¶141 n.29,

11   ¶143 n.30, ¶143 n.31, ¶144 n.32, ¶145 n.33, ¶145 n.34.

12            The sheer number of these references shows the extent to which Dr. Bhattacharjee relies

13   on source code citations that do not appear in Google’s invalidity contentions. Dr. Bhattacharjee

14   further references these undisclosed versions of the source code as support for his position that

15   certain claim limitations of the ’615 Patent are either anticipated or rendered obvious by the YTR

16   System. See Bhattacharjee Decl. at ¶¶158 n.35, 170. As previously discussed, new references are

17   prior art instead of background if the expert relies on them as references that “render[] the

18   asserted claims [invalid].” Verinata, 2014 WL 4100638 at *5. Dr. Bhattacharjee’s reliance on

19   this new prior art for invalidity grounds is improper at this stage. The Court should strike
20   paragraphs 133-34, 139-41, 143-45, 158, 170, and 182 of Dr. Bhattacharjee’s declaration on this

21   basis.

22            D.     Google Broadly Cited To Its Own Source Code Without Providing Specific
                     Invalidity Theories Or Citations
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24            In addition to the new source code addressed above, Google’s motion for summary

25   judgment points to specific portions of previously disclosed source code. For example, Google

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                                                                                                              5
 1   now cites the                                                                                                .

 2   Google’s invalidity contentions, however, merely cite to directories and subdirectories of source

 3   code without identifying any specific files or pinpoint citations to specific line numbers that would

 4   map those citations onto specific claim elements. Google’s motion for summary judgment was the

 5   first time it provided specific, pinpoint citations to any source code.

 6             This Court has recognized that pinpoint citations for available source code are required.

 7   Anything less fails to put parties on notice of key litigation positions, and therefore, the Court has

 8   stricken contentions that fail to provide this specificity. See MasterObjects, Inc. v. Amazon.com,

 9   Inc., No. C20-08103 (WHA), 2021 WL 5987101, at *2-3 (N.D. Cal. Dec. 17, 2021). This Court
10   has typically recognized the importance of providing these pinpoint citations in the context of

11   infringement contentions. Id. at *2 (“Where the accused instrumentality includes computer

12   software based upon source code made available to the patentee, the patentee must provide

13   ‘pinpoint citations’ to the code identifying the location of each limitation.”); quoting Finjan Inc. v.

14   Check Point Software Tech., Inc., No. 18-cv-02621 (WHO), 2019 WL 955000 at *5 (N.D. Cal.

15   Feb. 27, 2019). However, Patent Local Rule 3-3(c) also applies that logic to invalidity contentions,

16   because the Local Rule “requires [Google] to cite specifically within the prior art reference, not

17   merely to the entire document or some general element therein.” Avago, 2007 WL 2103896 at *2.

18             In this case, the result should be no different. Google has no excuse for failing to provide

19   pinpoint citations: the source code Google relies on is from Google’s own code. Despite multiple
20   communications between the parties, Google withheld its pinpoint citations to the source code and

21   left Sonos in the dark as to its relevance to Google’s invalidity contentions, hiding the ball until its

22   motion for summary judgment. Supra, §II. For this reason, the Court should strike paragraphs

23   133-34, 139-41, 143-45, 158, 170, and 182 of Dr. Bhattacharjee’s declaration on this basis.

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         Google cites this file as being located at file
28
                                                                    . See Bhattacharjee Decl. at ¶133 n.21.
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 1   V.     CONCLUSION

 2          Accordingly, Sonos respectfully requests that this Court strike 1) page 19, lines 1-7; page

 3   20, lines 3-6, 11-14 from Google’s Motion for Summary Judgment; 2) ¶¶ 133-34, 136-137, 139-

 4   41, 143-45, 149, 158, 159-160, 169-171, 180, and 182 from Dr. Samrat Bhattacharjee’s

 5   supporting declaration (submitted as Exhibit 1 to Google’s Motion for Summary Judgment); and

 6   3) the entirety of Exhibits 10 and 14 to Google’s Motion for Summary Judgment.

 7

 8   Dated: April 21, 2022                          By: /s/ Alyssa Caridis
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